Supreme Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT

OF THE

STATE OF CALIFORNIA

DAVID BERNHARD FELSENTHAL

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify that David Bernhard Felsenthal, #140203, was on the 6th day
of June 1989, duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll of Attorneys as a member of the bar of this
state in good standing.

Witness my hand and the seal of the court
on the 9th day of September 2021.

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

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By: op Le .
Karissa Castro, Deputy Clerk
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